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Western District of Tennessee‘:‘:":§ _u §§
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is 0 99
UNITED sTATEs OF AMERICA §§3§ _ §§
Plaintiff, 9“ "
VS. CaSE NUmbEIB :97CR20234-Ol-Ml¢///

:97CR20235-01-Ml
:97CR20236~Ol-M1
:97CR20237-Ol-Ml
:97CR2023B-Ol-Ml
:97CR20239-Ol-Ml
:97CR20240'Ol-Ml
:97CR20241-Ol-Ml

EDDIE D. JETER
Defendant.

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JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November l, 1987)

The defendant, Eddie D. Jeter, was represented by Jacob Erwin, Esq.

lt appearing that the defendant, who was convicted on February ll, 2000 in the above
styled cases and was placed on Supervised Release for a period of three (5) years, has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of seventeen (17) months. Each above indicated
case is to be served concurrently each other and concurrent with case 2:05CR20014-Ol for
a total term of incarceration of seventeen (17) months.

lt is recommended to the Bureau of Prisons that the defendant be incarcerated at
a facility in Memphis, TN area.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release. All restitution and other monetary penalties remain as previously imposed.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

@m‘w,@

JON PHIPPB MCCALLA
UN ED STATES DISTRICT JUDGE

Signed this the \\ajg day of June, 2005.

     
 

 

s document entered on the docket sheet in compliance

Defendant's SS No.: 426»94-0203 WHthe§5andmf3mb)H“ypon / .,O

Defendant's Date of Birth: 09/04/1946
U.S. Marshal No.: 16203-076
Defendant's Mailinq Address: 305 South Bellevue, #1006, Memphis, TN 38104

   

UN1TED sTATES D1STR1CT COURT - WETSER D1STR1CT OF ENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 105 in
case 2:97-CR-20234 Was distributed by faX, mail, cr direct printing on
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Honcrable Jon McCalla
US DISTRICT COURT

